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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA
               v.
 ROBERT MENENDEZ, NADINE MENENDEZ,                                23-Cr-490 (SHS)
 WAEL HANA, and FRED DAIBES,                                      ORDER
                             Defendants.


SIDNEY H. STEIN, U.S. District Judge.
     Defendant Robert Menendez has raised Speech or Debate Clause objections to two
lines contained in the draft summary chart labeled GX 1304 as well as the four exhibits
underlying those lines; specifically, GX A104-4, GX l0G-1, GX A104-5, and GX A104-E.
(See ECF No. 448; ECF No. 458.) These lines-and the corresponding exhibits-relate to
text messages, and the links and attachments contained therein, that defendant Fred
Daibes sent to Menendez concerning then-pending Senate Resolution 390 (S. Res. 390),
titled "A resolution expressing appreciation for the State of Qatar's efforts to assist the
United States during Operation Allies Refuge." (See ECF No. 448 at 1-2.)
     Neither of the summary chart lines at issue, nor any of the exhibits underlying those
lines, is barred by the Speech or Debate Clause. The first summary chart line at issue
refers to an exhibit containing text messages from no later than September 29, 2021. (See
ECF No. 448, Ex. A.) The second summary chart line at issue refers to an exhibit
containing text messages from no later than November 4, 2021. (See ECF No. 448, Ex. C.)
Both of these dates occurred well before May 24, 2022, which is the date that Senator
Menendez reported S. Res. 390 out of the Senate Committee on Foreign Relations. (See S.
Res. 390 - 117th Congress (2021-2022): A resolution expressing appreciation for the
State of Qatar's efforts to assist the United States during Operation Allies Refuge, S. Res.
390, 117th Cong. (2022), https://www.congress.gov/bill/117th-congress/senate-
resolution/390/all-actions.) Menendez had not taken any legislative act with regard to S.
Res. 390 as of the date of the text messages at issue.
    Consequently, the evidence at issue here is of a far different stripe than the evidence
that was at issue in this Court's Order dated May 24, 2024, concerning the Speech or
Debate Clause. (See ECF No. 420.) In that Order, the Court precluded certain items in
the Government's proposed summary chart, GX 1302, from being admitted into
evidence because the evidence referenced prior legislative acts. Such evidence is plainly
barred from admission pursuant to the Supreme Court's holding that "references to
past legislative acts of a Member cannot be admitted without undermining the values
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protected by the [Speech or Debate] Clause." United States v. Helstoski, 442 U.S. 477,489
(1979).
    The evidence at issue here, though, in distinction, is not backward looking, but
forward looking. It contemplates not a legislative act already performed, but, at most, a
request for a future legislative act that may or may not be performed at some unknown
subsequent time. As Helstoski itself sets forth, "it is clear from the language of the
[Speech or Debate] Clause that protection extends only to an act that has already been
performed." Helstoski, 442 U.S. at 490 (emphasis added). Again, as of the latest date
represented in the exhibits underlying the summary chart lines to which Menendez
objects-November 4, 2021-no legislative act related to S. Res. 390 had "already been
performed" by Menendez, and thus Speech or Debate Clause protection does not
extend to that evidence.
    This is not a close call. Helstoski further delineates that "[a] promise to deliver a
speech, to vote, or to solicit other votes at some future date is not 'speech or debate."' Id.
As already set forth, it is without question that a text to a senator, sent by an individual
who is neither a legislator nor an aide, providing that senator with publicly available
information regarding a pending resolution as to which the senator has yet to take any
legislative act is not "speech or debate." 1
     Menendez urges that because the Government's proffered exhibits make references
to the legislative acts of other senators, those proffered exhibits are barred by the Speech
or Debate Clause. (See ECF No. 458 at 2-3.) To be sure, all members of Congress enjoy a
testimonial privilege emanating from the Speech or Debate Clause, and that privilege
cannot be waived by any other member. See U.S . Football League v. National Football
League, 842 F.2d 1335, 1374-75 (2d Cir. 1988). As the Supreme Court has set forth, the
purpose of the Speech or Debate Clause is "to protect the integrity of the legislative
process by insuring the independence of individual legislators." United States v.
Brewster, 408 U.S. 501,507 (1972).
    But the "independence of individual legislators" is not threatened if the identities of
those legislators are withheld from the relevant documents. As the Court has previously
ruled, while the Government may not introduce into evidence a document that names a
senator in relation to a legislative act performed by that senator, that same document is




1The Government alternatively urges that Menendez' s Speech or Debate Clause objections should be
dismissed as belated or waived. (See ECF No. 448 at 3.) But the threshold to waiver of the Speech or
Debate Clause' s protections is a high one, and is not met here. A waiver of the Speech or Debate Clause' s
protections "can be found only after explicit and unequivocal renunciation of the protection." Helstoski,
442 U.S. at 491. There has been no "explicit and unequivocal" renunciation of the protection here.


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admissible provided the senator's name is redacted or replaced by a pseudonym. (See
Trial Tr. at 1018:13-1019:6.)
    The Government represents that, for the proffered exhibits at issue, it will redact the
identities of the senators who performed the legislative acts referenced in those exhibits.
Specifically, the senators' names will be redacted and replaced by the pseudonyms
"Senator-2" and "Senator-5". (See ECF No. 448, Exs. B, D.) Redacted in this manner, the
proffered exhibits cannot be said to infringe upon the "independence of individual
legislators" -as the exhibits would not reveal the identities of any individual
legislators-and thus would not run afoul of the Speech or Debate Clause.
    Therefore, Menendez' s objections on Speech or Debate Clause grounds to two lines
in summary exhibit GX 1304, as well as the four exhibits underlying them-GX A104-4,
GX lOG-1, GX A104-5, and GX A104-E-are overruled. This evidence is not foreclosed
by the Speech or Debate Clause.
Dated: New York, New York
       June 14, 2024

                                          SO ORDERED:




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